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                             EXHIBIT 1
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  Re: Kuhmstedt v. ENTTech (Paper Mag)
  Robert Tauler <rtauler@taulersmith.com>
  Fri 2/11/2022 10:48 AM
  To:Scott Burroughs <scott@donigerlawfirm.com>
  Cc: Frank Trechsel <ftrechsel@donigerlawfirm.com>; Luca Stein <lstein@taulersmith.com>; Gil Peles
  <gpeles@taulersmith.com>; Valerie Saryan vsaryan@taulersmith.com

  Frank, you seem like a good guy. If you ever want to work somewhere else, I know a lot of
  legal recruiters that can find you a good position. Salaries for 2016 grads (especially from
  schools like Tulane) are fetching very high salaries now. You will never get a “cut of the
  action” at Doniger Burroughs. There is a reason they are two only two that are rich at your
  firm. Look around and ask around. If you want to talk about, just call me anytime, I can get
  you situated with some really good interviews at top 100 firms.

  Robert Tauler, Esq.
  Tauler Smith LLP
  626 Wilshire Blvd., Suite 510
  Los Angeles, CA 90017
  (213) 927-9270
  www.taulersmith.com


  On Feb 11, 2022, at 10:40 AM, Robert Tauler <rtauler@taulersmith.com> wrote:

  Did I hurt your feelings?




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  Tauler Smith LLP
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  www.taulersmith.com


  On Feb 11, 2022, at 10:39 AM, Scott Burroughs <scott@donigerlawfirm.com> wrote:


  Thanks - we will disregard the below (and all future emails without offers). If you have a new
  offer, let us know.

  --
  Scott Alan Burroughs, Esq.
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  (310) 590-1820
  scott@donigerlawfirm.com
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  From: Robert Tauler <rtauler@taulersmith.com>
  Sent: Friday, February 11, 2022 1:38 PM
  To: Scott Burroughs <scott@donigerlawfirm.com>
  Cc: Frank Trechsel <ftrechsel@donigerlawfirm.com>; Luca Stein <lstein@taulersmith.com>; Gil Peles
  <gpeles@taulersmith.com>; Valerie Saryan <vsaryan@taulersmith.com>
  Subject: Re: Kuhmstedt v. ENTTech (Paper Mag)

  Scott, don’t try to pretend it isn’t true. You are putting this guy on the front lines and do
  your slimy work while you do nothing except step in and try to be “tough” so you can keep
  him as an employee. Frank is getting the impression that law is just a scam you can use to
  get rich, and your callous attitude is hurting Frank and the profession. Frank doesn’t know
  that he has other options and that not every operation trolls honest companies for a couple
  grand for thirty year old photos. I get it that you make some good money on massive
  volume by clogging up our courts, but you know in the end, no matter how much you lie to
  yourself that are a dross on society. You tell yourself that money is more important than
  anything in life, but deep down you know it isn’t true. No amount of money can fill the hole
  inside you.

  In any case, you shouldn’t hurt people like Frank who want to be lawyers because they have
  a sense of justness and fairness in them, an emotion that you chip away at every day when
  you make him fight these lame lame lame lame cases to make a couple bucks so you can
  buy an extra cashmere scarf for yourself. Honestly, take the walk away if you can’t handle
  some tough talk. If you are such a wimp you need to tell your mommy I ruffled your
  feathers, then it will only confirm what I already know - you are just a liiiiitle kitty cat
  underneath all that cashmere.




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  On Feb 11, 2022, at 10:26 AM, Scott Burroughs <scott@donigerlawfirm.com> wrote:


  Counsel - the artist rejected the walkaway and rejected the $           offer. If your client has a
  new position, let us know.
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  We will not respond to the unfounded and frankly unprofessional content in your emails, but
  do reserve the right to bring them to the attention of the court.

  Thanks,

  --
  Scott Alan Burroughs, Esq.
  DONIGER / BURROUGHS
  247 Water Street, First Floor
  New York, New York 10038
  (310) 590-1820
  scott@donigerlawfirm.com
Case 2:21-cv-10032-SVW-JEM Document 16-2 Filed 03/21/22 Page 6 of 14 Page ID #:84




  From: Robert Tauler <rtauler@taulersmith.com>
  Sent: Friday, February 11, 2022 1:11 PM
  To: Frank Trechsel <ftrechsel@donigerlawfirm.com>
  Cc: Scott Burroughs <scott@donigerlawfirm.com>; Luca Stein <lstein@taulersmith.com>; Gil Peles
  <gpeles@taulersmith.com>; Valerie Saryan <vsaryan@taulersmith.com>
  Subject: Re: Kuhmstedt v. ENTTech (Paper Mag)

  Frank, I am disturbed that you didn’t accept my offer for a walk away. Scott doesn’t care
  about your career. He goes through associates like tissue paper. You don’t want to be on
  this docket three years from now. It will haunt you. Take the walk away while you still
  can. It’s the best thing for your life and career, trust me.




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  On Feb 7, 2022, at 8:18 AM, Robert Tauler <rtauler@taulersmith.com> wrote:


  Following up on this. If I need to work on this any more I will gag. Can you confirm
  that you will dismiss this dumpster fire?

  Robert Tauler, Esq.
  Tauler Smith LLP
  626 Wilshire Blvd., Suite 510
  Los Angeles, CA 90017
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  www.taulersmith.com




  On Sun, Feb 6, 2022 at 6:30 PM Robert Tauler <rtauler@taulersmith.com> wrote:

  Nevermind, I think I found it. Registered twenty years after the image! I think you got
  some bad info from Richard Liebowitz, who has been filing lawsuits about this image on
  this image since early 2020 (before he got disbarred). See attached from one of the
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  Can you please send me the registration documents if they exist?

  Robert Tauler, Esq.
  Tauler Smith LLP
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  Los Angeles, CA 90017
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  www.taulersmith.com




  On Sat, Feb 5, 2022 at 2:45 PM Robert Tauler <rtauler@taulersmith.com> wrote:
  Frank,

  It looks like the “renowned artist” Mr. Kuhmstadt sold his rights to this image to Alamy in
  1989. They are selling multiple versions of it for 20 bucks online:

  https://www.alamy.com/janet-jackson-in-november-1989-in-dortmund-usage-worldwide-
  image218265279.html

  This case appears to be frivolous. I will give you the benefit of the doubt here and let you
  dismiss it before we file our motion (likely Tuesday). It will be five pages long and is a
  guaranteed winner.

  I want you to know that I will make sure to embarrass you personally, Frank, if you move
  forward with this case. Your name will always be associated with this case for your whole
  career. I know the owner of the business Scott doesn’t care because he is already made and
  about to retire. He doesn’t care about your career, but trust me this isn’t what you want to
  do with your career. This case is embarrassing to file and you don’t want your name
  associated with it for life, Frank.

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  On Jan 19, 2022, at 5:19 PM, Frank Trechsel <ftrechsel@donigerlawfirm.com> wrote:

  Robert,

  See attached.

  --
  Frank R. Trechsel
  DONIGER / BURROUGHS
  603 Rose Avenue
  Venice, California
  (310) 590-1820
  Ftrechsel@Donigerlawfirm.com

  From: Robert Tauler <rtauler@taulersmith.com>
  Sent: Wednesday, January 19, 2022 4:03 PM
  To: Frank Trechsel <ftrechsel@donigerlawfirm.com>
  Cc: Scott Burroughs <scott@donigerlawfirm.com>; Luca Stein <lstein@taulersmith.com>
  Subject: Re: Kuhmstedt v. ENTTech (Paper Mag)

  Will do Frank, in the meantime can you send the complaint and the letter referenced in the
  complaint. I am on the road today and don’t have access to either but would ask my
  assistant Luca to have these in hand to get started on the stip.




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  On Jan 19, 2022, at 6:54 PM, Frank Trechsel <ftrechsel@donigerlawfirm.com> wrote:

  Robert,

  How about 2pm on Wednesday? Yes, please draft a stipulation for my review.

  --
  Frank R. Trechsel
  DONIGER / BURROUGHS
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   603 Rose Avenue
   Venice, California
   (310) 590-1820
   Ftrechsel@Donigerlawfirm.com

   From: Robert Tauler <rtauler@taulersmith.com>
   Sent: Wednesday, January 19, 2022 3:31 PM
   To: Frank Trechsel <ftrechsel@donigerlawfirm.com>
   Cc: Scott Burroughs <scott@donigerlawfirm.com>; Luca Stein <lstein@taulersmith.com>
   Subject: Re: Kuhmstedt v. ENTTech (Paper Mag)

   I have an arbitration that day, are you free Monday or Wednesday afternoon? Also, can we
   get a stop to continue response date?




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   On Jan 19, 2022, at 6:28 PM, Frank Trechsel <ftrechsel@donigerlawfirm.com> wrote:

   Robert,

   Let's speak at 11 am on Tuesday January 25, 2022 if that time works on your end. I'm generally
   available that morning if another time works better. Thanks.

   --
   Frank R. Trechsel
   DONIGER / BURROUGHS
   603 Rose Avenue
   Venice, California
   (310) 590-1820
   Ftrechsel@Donigerlawfirm.com
Case 2:21-cv-10032-SVW-JEM Document 16-2 Filed 03/21/22 Page 11 of 14 Page ID #:89




   From: Robert Tauler <rtauler@taulersmith.com>
   Sent: Wednesday, January 19, 2022 11:26 AM
   To: Scott Burroughs <scott@donigerlawfirm.com>
   Cc: Frank Trechsel <ftrechsel@donigerlawfirm.com>; Luca Stein <lstein@taulersmith.com>
   Subject: Re: Kuhmstedt v. ENTTech (Paper Mag)

   Oh, I see. It would appear you “discovered” the copyright violation after the 9th Circuit
   ruled! The dates line up pretty good. Frank, let’s discuss a motion to dismiss per Local
   Rules, please let me know when you are free.

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   Los Angeles, CA 90017
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   On Jan 19, 2022, at 2:11 PM, Scott Burroughs <scott@donigerlawfirm.com> wrote:

   Robert - I am disappointed to see the below. As an attorney who appears to have had at
   least some copyright experience, or lacking that, a working Westlaw account, it is
   inconceivable that you did not know that Judge Fischer was reversed:


   “[A] copyright infringement claim accrues – and the statute of limitations begins to run –
   when a party discovers, or reasonably should have discovered, the alleged
   infringement.” Michael Grecco Prods., Inc. v. Ziff Davis, LLC, 830 F. App'x 233, 234 (9th Cir.
   2020)


   I will give you the benefit of the doubt and chock this up to mere sloppiness as opposed to a
   knowing reliance on a reversed decision. Please ensure that this does not happen again.


   --
   Scott Alan Burroughs, Esq.
   DONIGER / BURROUGHS
   247 Water Street, First Floor
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   New York, New York 10038
   (310) 590-1820
   scott@donigerlawfirm.com


   From: Robert Tauler <rtauler@taulersmith.com>
   Sent: Wednesday, January 19, 2022 2:04 PM
   To: Frank Trechsel <ftrechsel@donigerlawfirm.com>
   Cc: Scott Burroughs <scott@donigerlawfirm.com>; Luca Stein <lstein@taulersmith.com>
   Subject: Re: Kuhmstedt v. ENTTech (Paper Mag)

   Hi Frank, attached is the opinion from Dale Fischer I told you about. Very similar facts
   where there was some old picture laying dormant on a website. Key part is page 2:

   "Whatever the scope of the discovery rule, the Court declines to find
   that it creates an effectively open-ended statute of limitations for
   unconcealed copyright infringement on a massively trafficked website."

   All things considered, I believe this is a good case for a walk away, since I don't really see
   the need to file a motion to dismiss and I don't believe the image at issue has any market
   value, which is what courts use to tether to "statutory damages." In any case, let me
   know if you are free to discuss tomorrow or early next week. Hopefully we can come to
   an agreement before our deadline.

   Robert Tauler, Esq.
   Tauler Smith LLP
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   Los Angeles, CA 90017
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   On Fri, Jan 14, 2022 at 12:15 PM Robert Tauler <rtauler@taulersmith.com> wrote:
   Hi Frank,

   Client confirms no letter was received at the email address. Not in spam either so may have
   not made it past initial spam filters. Most servers will bounce a “first contact” email with an
   attachment, including a pdf. This will lead to much lower response rates for your cases - I
   recommend emailing an intro first, saying that an attachment is coming, and then following
   up with a fed ex so you will at least know if it’s been delivered. It’s less than $20 and your
   response rate will double, if that’s what you want.
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   I will send you that case I told you about shortly.


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   www.taulersmith.com


   On Jan 13, 2022, at 5:59 PM, Frank Trechsel <ftrechsel@donigerlawfirm.com> wrote:

   Robert,

   Please give me a call tomorrow at 11am Pacific at the number below. I am generally available
   tomorrow, so feel free to propose an alternative if that time does not work.

   --
   Frank R. Trechsel
   DONIGER / BURROUGHS
   603 Rose Avenue
   Venice, California
   (310) 590-1820
   Ftrechsel@Donigerlawfirm.com
Case 2:21-cv-10032-SVW-JEM Document 16-2 Filed 03/21/22 Page 14 of 14 Page ID #:92




   From: Robert Tauler <rtauler@taulersmith.com>
   Sent: Thursday, January 13, 2022 2:53 PM
   To: Frank Trechsel <ftrechsel@donigerlawfirm.com>; Scott Burroughs <scott@donigerlawfirm.com>
   Cc: Luca Stein <lstein@taulersmith.com>
   Subject: Kuhmstedt v. ENTTech (Paper Mag)

   Counsel,

   I represent Paper Mag regarding the above case. Can we set up a call today or tomorrow to
   discuss?


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